Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 1 of 14 Page ID #:1



 1   ROBERT H. GRUBER (SBN: 301620)
     rgruber@reitergruber.com
 2   CHARLES D. REITER
     creiter@reitergruber.com
 3   REITER GRUBER LLP
     100 Wilshire Blvd., Ste. 700
 4   Santa Monica, California 90401
     Telephone: 1 (310) 496-7799
 5
     Attorneys for Defendant
 6
     HASHCASH CONSULTANTS, LLC
 7

 8
                         UNITED STATES DISTRICT COURT

 9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

10

11   CRYPTO POKER EXCHANGE, INC., a             CASE NO: 2:20-cv-7871
     Delaware corporation,                      Sup. Ct. Case No. 20STCV08885
12
                             Plaintiffs,
13                                            NOTICE OF REMOVAL OF
                        v.                    CIVIL ACTION TO THE
14
                                              UNITED STATES DISTRICT
15   HASHCASH CONSULTANTS, LLC, a             COURT BY DEFENDANT
     California limited liability company;    HASHCASH CONSULTANTS
16   EASHWER KOLLATA; RAJ
17   CHOWDHURY, AKA ROY AICH; AND
     DOES 1 THROUGH 10,                       ACTION FILED: FEB. 15, 2020
18                                            SUMMONS RECEIVED: JULY 28,
                             Defendants.      2020
19

20

21

22

23

24

25

26

27

28


                                   NOTICE OF REMOVAL
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 2 of 14 Page ID #:2



 1         PLEASE TAKE NOTICE that Defendant HASHCASH CONSULTANTS,
 2   LLC (HashCash) hereby removes this civil action from the Los Angeles County
 3   Superior Court to the United States District Court for the Central District of
 4   California under 28 U.S.C. §§ 1332 and 1441, et seq.
 5                              BASIS FOR JURISDICTION
 6                1.     This is a civil action over which this Court has original
 7   jurisdiction under 28 U.S.C. § 1332(a)(1) because complete diversity of citizenship
 8   and the required amount in controversy both exist. As a result, this action may be
 9   removed to this Court under 28 U.S.C. § 1441(a).
10                             FILING OF THE COMPLAINT
11                2.     On February 15, 2020, Plaintiff CRYPTO POKER
12   EXCHANGE, INC., a Delaware corporation (“Plaintiff”) filed a Complaint
13   (“Complaint”) against Defendants in the Los Angeles County Superior Court
14   bearing Case No. 20STCV08885. While HashCash has not yet been formally
15   served with any pleadings, process, or orders, pursuant to 28 U.S.C. § 1446(a), a
16   copy of the Complaint is attached hereto as EXHIBIT A. Plaintiff’s Complaint is
17   the initial pleading setting forth the claim for relief upon which this action is based.
18                 RECEIPT OF THE SUMMONS AND COMPLAINT
19                3.     HashCash received a mailing containing the Summons and
20   Complaint on July 28, 2020. HashCash has yet to be served with the Summons and
21   Complaint in compliance with Fed. R. Civ. P. 4(h).
22                        ALLEGATIONS OF THE COMPLAINT
23                4.     Plaintiff alleges that it entered into a contract with HashCash on
24   September 8, 2019 (the “Contract”). (Compl. ¶ 7.)
25                5.     Pursuant to the Contract, HashCash properly received
26   $78,000.00 from Plaintiff. (Compl. ¶ 9.) Plaintiff claims that the payment was
27   fraudulent despite Defendants’ completion of the services called for under the
28   Contract. (Compl. ¶ 14.)
                                               2
                                      NOTICE OF REMOVAL
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 3 of 14 Page ID #:3



 1                 6.      Based upon these factual allegations, Plaintiff asserts claims for
 2   relief for: (1) fraud; (2) breach of contract; (3) anticipatory breach of contract; (4)
 3   promissory estoppel; (5) intentional interference with prospective economic
 4   advantage; and (6) a violation of the Cal. Bus. & Prof. Code § 17200 (for an unfair
 5   business practice). (Compl. ¶ 1.)
 6                                DIVERSITY JURISDICTION
 7                 7.      This Court has original jurisdiction over this matter under 28
 8   U.S.C. § 1332(a)(1) because complete diversity of citizenship and the required
 9   amount in controversy both exist. As a result, this action may be removed to this
10   Court under 28 U.S.C. § 1441(a).
11                             CITIZENSHIP OF THE PARTIES
12                 8.      Plaintiff is a Delaware corporation with its principal place of
13   business located in Virginia. Plaintiff is therefore a citizen of the State of Delaware
14   and the State of Virginia under 28 U.S.C. § 1332 (c)(1).
15                 9.      Defendant HASHCASH CONSULTANTS, LLC, a California
16   LLC, is a citizen of California and the Republic of India for diversity purposes. For
17   purposes of diversity jurisdiction, a limited liability company is a citizen of any state
18   of which any member of the company is a citizen. See Johnson v. Columbia
19   Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (“like a partnership, an
20   LLC is a citizen of every state of which its owners/members are citizens”). [The
21   owners and members of Defendant HashCash are citizens of California and the
22   Republic of India.]
23                 10.     Defendant EASHWER KOLLATA is a citizen of the State of
24   California.
25                 11.     Defendant RAJ CHOWDBURY, AKA ROY AICH is a citizen
26   of the Republic of India.
27

28
                                                3
                                       NOTICE OF REMOVAL
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 4 of 14 Page ID #:4



 1                 12.   Under 28 U.S.C § 1441(b)(1) the citizenship of defendants sued
 2   under fictitious names shall be disregarded in determining whether a civil action is
 3   removable.
 4                             AMOUNT IN CONTROVERSY
 5                 13.   The amount in controversy exceeds the $75,000 jurisdictional
 6   minimum under 28 U.S.C. § 1332(a).
 7                 14.   The Complaint asserts a claim for recovery of at least $78,000
 8   (for recovery of the funds rightfully paid to Defendants) along with punitive
 9   damages and costs of bringing the suit. (Compl. Prayer for Relief, p. 7-8.).
10   Accordingly, the amount in controversy exceeds the $75,000 jurisdictional
11   minimum under 28 U.S.C. § 1332(a).
12                                        REMOVAL
13                 15.   Defendants hereby exercise their right under 28 U.S.C. §§ 1441,
14   et seq., to remove this action from the Los Angeles County Superior Court to the
15   United States District Court for the Central District of California.
16                 16.   Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of
17   Removal will be filed with the Los Angeles County Superior Court, and Defendants
18   will give written notice of the filing of this Notice of Removal to Plaintiff.
19                 17.   By filing this Notice of Removal, Defendants do not waive any
20   defenses that may be available to them, including any objections to personal
21   jurisdiction or venue, or any defense for failure to state a claim.
22                 18.   Defendants reserve the right to amend or supplement this Notice
23   of Removal.
24   //
25   //
26

27

28
                                              4
                                     NOTICE OF REMOVAL
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 5 of 14 Page ID #:5



 1
     Dated:     August 27, 2020
 2
                                       REITER GRUBER LLP
 3

 4
                                       By
 5                                          Robert H. Gruber
                                            Charles D. Reiter
 6                                          Attorneys for Defendant HashCash
 7                                          Consultants LLC
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                           5
                                  NOTICE OF REMOVAL
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 6 of 14 Page ID #:6




                                Ex. A
Electronically FILED by Superior Court of California, County of Los Angeles on 03/04/2020 02:46 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                     Case 2:20-cv-07871-ODW-KS Document  1 Filed 08/27/20 Page 7 of 14 Page ID #:7
                                                    20STCV08885
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Richard Rico




                                         VICTOR B. MEYEN (SBN 147161)
                                         Attorney    Law       at
                                          224 West Dryden Street ¹109
                                          Glendale, CA 91202
                                          Tel. (626) 469 9988
                                         Attorney for Plaintiff                                 CRYPTO POKER EXCHANGE INC.


                                                               SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                           FOR THE COUNTY OF LOS ANGELES




                                          CRYPTO POKER EXCHANGE INC                                                  )        CASE NO.
                                9
                                                                                                                     )
                                                                                                                     )        COMPLAINT
                                10                    Plaintiff,                                                     )        FOR:
                                                                                                                     )        (1) FRAUD;
                                                                                                                     )        (2) BREACH OF CONTRACT;
                                                                                                                     )        (3)ANTICIPATORY BREACH
                                12          HashCash             Consultants, LLC.,                                  )     OF CONTRACT;
                                           EASHWER KOLLATA,                                                          ) (4) PROMISSORY ESTOPPEL;
                                13         RAJ CHOWDHURY, AKA                                                        ) (5)INTENTIONAL INTERFERENCE
                                           ROY AICH;                                                                 )   WITH PROSPECTIVE
                                           and DOES 1 through                           10,                            )  ECONOMIC ADVANTAGE;
                                                                                                                          )    (6)BPC SECTION 17200
                                15                                                                                        )       UNFAIR BUSINESS
                                                                                                                          )       PRACTICE
                                                       Defendants                                                        )

                                17

                                18                     Plaintiff              CRYPTO POKER EXCHANGE INC.                                      (" Plaintiff" or
                                           "CPE")           alleges as follows:
                                20
                                21                       I. NATURE OF THE ACTION
                                22              1. This is an intentional fraud, breach of contract,
                                           anticipatory breach of contract, promissory estoppel,
                                           intentional interference with prospective economic
                                           advantage, and violation of California UNFAIR BUSINESS
                                           PRACTICES ACT action by Plaintiff against Defendant

                                           HashCash             Consultants,                   LLC.        ("HashCash"), Defendant                                EASHWER

                                           KOLLATA ("KOLLATA"),                              and Defendant RAJ                         CHOWDHURY, AKA                       ROY
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 8 of 14 Page ID #:8




          AICH ("ROY")          (collectively referred to as "Defendants" ) as
          more    fully described below.

                                     II. THE PARTIES
                  2. The      Plaintiff is CRYPTO POKER       EXCHANGE   INC.     ("CPE")
          is    a Delaware corporation with          its   main place of business
          located at          15380 Warm Springs Ln., Manassas      Virginia 20112.
          CPE    is    a    start-up business involved in developing         a
          cryptocurrency exchange and blockchain network for gaming
     10   such as poker (the "Business" ) . The CEO and owner of CPE is
          Min Yi ("Min").
     12           3. The      DEFENDANT   HashCash   Consultants,   LLC.
     13    ("HashCash")        California limited liability
                                is   a                                   company with
     14   its    main place of business in San Francisco.
     15           4. The      DEFENDANT EASHWER KOLLATA ("KOLLATA")          is the    CEO

     16   AND    Founder of HashCash.
     17           5. The      DEFENDANT RAJ CHOWDHURY, AKA        ROY AICH       ("ROY")

          appears to be the owner of HashCash and a major party in the
     19   fraud described below.
     20        6. The true names and capacities, whether individual,
     21   corporate, associate or otherwise of Defendant DOES 1
     22   through 10 are unknown to Plaintiff, who therefore sues said
     23   Defendants by such fictitious names and will ask leave of
          Court to amend his complaint to show their true names and
     25   capacities when ascertained.
     26
     27                    III. FACTUAL ALLEGATIONS
     28           7.       Plaintiff entered into an Agreement      (the   "CONTRACT" )
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 9 of 14 Page ID #:9




          with HashCash which was executed by Min on behalf of
          Plaintiff CPE and KOLLATA as CEO of HashCash. The date of
          the    CONTRACT     was September 8, 2019.
                  8. The       provided that HashCash would provide a
                             CONTRACT

          variety of services to CPE including developing a
          cryptocurrency exchange and blockchain network for gaming
          such as poker as well as other technical support (the
          "Contractual Services" ) . The CONTRACT provided in Paragraph
          ZZII that any disputes or litigation regarding the CONTRACT
     10   would be resolved and litigated in Los Angeles Superior
          Court or in the U.S. District court for the Central District
     12   of California.
     13           9.   CPE    in the   first   few months   after the   CONTRACT   was
     14   signed paid over $ 78,000 to HashCash. There were many weekly
     15   on-line calls between Min and ROY as well as two other
     16   computer consultants located in Los Angeles discussing and
     17   working on the Contractual Services.
              10. One of the Los Angeles consultants sent an email to
     19   Min suggesting that this may be a scam, that many of the
     20   supposed      staff    employees of HashCash were       fictitious   and
     21   other problems.
     22          11. Min saw to        it
                                  that a number of audits (the "Audits" )
     23   were   performed and additional research proved that ROY's
          name   "Roy Aich" was an alias and that his real name was RAJ
     25   CHOWDHURY,         he supposed owner of HashCash.
     26                             that the software that HashCash
                 12. The Audits showed
     27   had provided was simply open source software that anyone
          could get for free.
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 10 of 14 Page ID #:10




                  13. HashCash has refused to refund the money or to do
            any   satisfactory   required by the CONTRACT. In addition
                                 work
           the CONTRACT required that the work be completed in circa 18
           weeks so the deadline was sometime in January.
                14. CPE has come to the clear conclusion that they have
           been scammed.
                          FIRST CAUSE OF ACTION


                     (Against Defendant HashCash, Defendant
      10                   KOLLATA and Defendant ROY)

                     Plaintiff realleges and incorporates by reference
                   15.
      12    each allegation set forth in Paragraphs 1 through 14 as if
      13    said allegations were set forth herein.
      14           16. Defendant HashCash, Defendant        KOLLATA   and
      15    Defendant      (collectively the "Defendants" ) made false
                         ROY

      16    representations to CPE that Defendants would provide the
            contractual services, such representations were intentional,
      18    they were false, and CPE reasonably relied on such false
      19    representations.
      20         17. Such false representations caused damage to CPE
      21    including the loss of over $ 78,000 as well as other damage.
      22         18. Such brazen conduct is shocking to the conscience
      23    and justifies the imposition of punitive damages.
      24                    SECOND CAUSE OF ACTION

      25                       BREACH OF CONTRACT

      26                  (Against Defendant HashCash   )

      27           19.   Plaintiff realleges   and incorporates by reference
      28    each allegation      set forth in Paragraphs     1   through    14   as   if
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 11 of 14 Page ID #:11




      1     said allegations were set forth herein.
      2          20. CPE and Defendant HashCash entered into the
      3     CONTRACT which required that the Contractual Services be

      4    performed;
      5          21.    did everything required to be done and was
                         CPE

      6    prepared to go forward so all conditions occurred which were
      7    required for performance by HashCash;
      8         22. HashCash failed to perform and Plaintiff CPE was
      9    damaged and the breach of contract was a substantial factor
      10   in causing damage to Plaintiff, which was was in excess of
      11    $ 78,000.

      12                   THIRD CAUSE OF ACTION

      13                ANTICIPATORY BREACH OF CONTRACT

                      (Against Defendant HashCash)
      15        23.     Plaintiffrealleges and incorporates by
                                    CPE

      16   reference each allegation set forth in Paragraphs 1 through
      17   14 as if said allegations were set forth herein.
      18        24. Plaintiff CPE and Defendant HashCash had entered
      19   into an enforceable contract with respect to the Contractual
      20   Services.
      21        25. Defendant HashCash has clearly indicated that that
      22   Defendant HashCash would not perform the contract which they
      23   had entered into thus expressly repudiating the Contract.
      24        26. Defendant's conduct in refusing to perform the
      25   contract constitutes an anticipatory breach of the
      26    agreement, which was over $ 78,000.
      27
      28
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 12 of 14 Page ID #:12




                            FOURTH CAUSE OF ACTION

                             PROMISSORy ESTOPPEL

                         (Against Defendant HashCash)
      4          27.    Plaintiff  realleges and incorporates by
                                    CPE

      5    reference each allegation set forth in Paragraphs 1 through
      6    14 as if said allegations were set forth herein.
      7          28. Defendant HashCash made promises to             Plaintiff   and
      8    reasonably expected such promises to induce action by
      9    Plaintiff;
      10         29. Such promise to perform the Contractual Services
      11   was   clear and unambiguous, Plaintiff          CPE   actually relied   on
      12    such promise       and the promise was breached;
      13         30. Such   reliance      was   reasonable and foreseeable and
      14   caused actual damage to          Plaintiff,   which was over    $ 78,000.

      15                    FIFTH CAUSE OF ACTION
      16           INTENTIONAL INTERFERENCE WITH PROSPECTIVE

      17                     ECONOMIC ADVANTAGE

      18                  (Against Defendant HashCash)
      19          31.   Plaintiff  realleges and incorporates by
                                    CPE

      20   reference each allegation set forth in Paragraphs 1 through
      21   14 as if said allegations were set forth herein.
      22         32. Defendant HashCash knew or should have known that
      23   failing to act with reasonable care would disrupt an
      24   economic relationship Plaintiff likely had with others in
      25   setting up a business;
      26          33. Defendant HashCash knew or should have known of
      27    this and not performing the Contractual Services              was
      28   wrongful.
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 13 of 14 Page ID #:13




                 34. Defendant knew that, the prospective economic
           advantage of Plaintiff would be disrupted and that there          was
           actual disruption of Plaintiff's economic relationships,
           which damage shall be determined at trial.
                          SIXTH CAUSE OF ACTION

                           UNFAIR BUSINESS PRACTICES

                       (BUSINESS AND PROFESSIONS CODE 17200)

                   (Against Defendant HashCash, Defendant
                          KOLLATA and Defendant ROY )

      10         35.   Plaintiff   realleges and incorporates by
                                   CPE

           reference each allegation set forth in Paragraphs 1 through
      12   14 as if said allegations were set forth herein.
      13         36. Defendant HashCash knew or should have known that
      14   failing to act with reasonable care would disrupt an
      15   economic relationship Plaintiff likely had with others in
      16   setting up a business and that Defendant' false promises
      17   and representations constituted an unfair business practice;
      18         37. Plaintiff relied on Defendant' false and
           misleading promises which caused actual damage to Plaintiff.
      20         38. Defendant' conduct constitutes an unfair business
      21   practice.
      22            WHEREFORE, Plaintiff prays for judgment against

      23   Defendants and each of them jointly and severally as
      24    follows:
      25         1. For special         in a sum to be proven at trial;
                                    damages
      26         2. For general damages in a sum to be proven at trial;
      27         3. For economic damages in a sum to be proven at trial;
      28         4. Punitive damages in an amount determined by the
Case 2:20-cv-07871-ODW-KS Document 1 Filed 08/27/20 Page 14 of 14 Page ID #:14




      1     court to be reasonable as authorized by section 3294 of the
      2     California Civil Code.
      3          5. For the costs of suit incurred herein;
      4          6. For such other relief as the court may consider just
      5     and proper.
      6     Dated: February 15, 2020
                                           VICTOR B. MEYEN
                                  Attorney Representing Plaintiff
                                        CRYPTO POKER EXCHANGE INC.




      10
             MINCOMP.04   2/15/2020

      12
      13
      14

      15
      16
      17

      18

      19
      20
      21
      22
      23


      25


      27
      28
